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                   EXHIBIT 3
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15 Attorneys for SAMSUNG ELECTRONICS CO.,
   LTD., SAMSUNG ELECTRONICS AMERICA,
16 INC. and SAMSUNG
   TELECOMMUNICATIONS AMERICA, LLC
17

18                             UNITED STATES DISTRICT COURT

19                NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

20

21 APPLE INC., a California corporation,          CASE NO. 12-CV-00630-LHK

22                Plaintiff,                      DECLARATION OF DANIEL C. POSNER
                                                  IN SUPPORT OF SAMSUNG’S
23         vs.                                    OPPOSITION TO APPLE’S MOTION
                                                  FOR A PRELIMINARY INJUNCTION
24 SAMSUNG ELECTRONICS CO., LTD., a
   Korean business entity; SAMSUNG                Date: June 7, 2012
25 ELECTRONICS AMERICA, INC., a New               Time: 1:30 p.m.
   York corporation; SAMSUNG                      Place: Courtroom 8, 4th Floor
26 TELECOMMUNICATIONS AMERICA,                    Judge: Hon. Lucy H. Koh
   LLC, a Delaware limited liability company,
27                                                FILED UNDER SEAL
                 Defendants.
28

                                                                    Case No. 12-CV-00630-LHK
             DECLARATION OF DANIEL C. POSNER ISO SAMSUNG’S OPPOSITION TO APPLE'S PI MOTION
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 1                              DECLARATION OF DANIEL C. POSNER
 2          I, Daniel C. Posner, declare as follows:

 3          1.       I am a member of the bar of the State of California and an associate with Quinn

 4 Emanuel Urquhart & Sullivan, LLP, counsel for Samsung Electronics Co., Ltd. (“SEC”), Samsung

 5 Electronics America, Inc. (“SEA”), and Samsung Telecommunications America, LLC (“STC”)

 6 (collectively, “Samsung”). I make this declaration of personal, firsthand knowledge, and if called

 7 and sworn as a witness, I could and would testify competently as follows.

 8          2.       Attached hereto as Exhibit A is a true and correct copy of an article titled “Apple
 9 market value hits $600 billion, closing in on Microsoft record,” dated April 10, 2012, and

10 downloaded from http://www.washingtonpost.com/business/technology/apple-market-value-hits-

11 600-billion-closing-in-on-microsoft-record/2012/04/10/gIQAhvqF8S_print.html on April 23,

12 2012.

13          3.       Attached hereto as Exhibit B is a true and correct copy of an Apple Inc. press
14 release titled “Apple Reports First Quarter Results,” dated January 24, 2012, and downloaded

15 from http://www.apple.com/pr/library/2012/01/24Apple-Reports-First-Quarter-Results.html on

16 April 20, 2012.

17          4.       Attached hereto as Exhibit C is a true and correct copy of an Apple Inc. press
18 release titled “Apple Announces Plans to Initiate Dividend and Share Repurchase Program,” dated

19 March 19, 2012, and downloaded from http://www.apple.com/pr/library/2012/03/19Apple-

20 Announces-Plans-to-Initiate-Dividend-and-Share-Repurchase-Program.html on April 20, 2012.

21          5.       Attached hereto as Exhibit D is a true and correct copy of excerpts of the transcript
22 of the deposition of Mark Buckley, dated April 10, 2012.

23          6.       Attached hereto as Exhibit E is a true and correct copy of excerpts of the transcript
24 of the deposition of Nathaniel Polish, dated April 3, 2012.

25          7.       Attached hereto as Exhibit F is a true and correct copy of excerpts of the transcript
26 of the deposition of Ravin Balakrishnan, dated April 6, 2012.

27          8.       Attached hereto as Exhibit G is a true and correct copy of excerpts of the transcript
28 of the deposition of Greg Joswiak, dated April 17, 2012.

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 1          9.       Attached hereto as Exhibit H is a true and correct of excerpts of the transcript of
 2 the deposition of Karan Singh, dated April 18, 2012.

 3          10.      Attached hereto as Exhibit I is a true and correct copy of excerpts of the transcript
 4 of the deposition of Christopher Vellturo, dated April 18, 2012.

 5          11.      Attached hereto as Exhibit J is a true and correct copy of excerpts of the transcript
 6 of the deposition of Arthur Rangel, dated April 5, 2012.

 7          12.      Attached hereto as Exhibit K is a true and correct copy of excerpts of the transcript
 8 of the deposition of Steven Sinclair, dated April 4, 2012.

 9          13.      Attached hereto as Exhibit L is a true and correct copy of excerpts of the transcript
10 of the deposition of Greg Christie, dated April 20, 2012.

11          14.      Attached hereto as Exhibit M is a true and correct copy of excerpts of the
12 transcript of the deposition of Kenneth Kocienda, dated April 13, 2012.

13          15.      Attached hereto as Exhibit N is a true and correct copy of excerpts of the transcript
14 of the deposition of Todd Mowry, dated April 4, 2012.

15          16.      Attached hereto as Exhibit O is a true and correct copy of excerpts of the transcript
16 of the deposition of David Wright, dated April 6, 2012, taken in the matter of Apple, Inc. v.

17 Motorola, Inc., et. al, Case No. 1:11-CV-08540 (N.D. Ill.), and also pursuant to a subpoena issued

18 in this case.

19          17.      Attached hereto as Exhibit P is a true and correct copy of excerpts of the transcript
20 of the deposition of Richard J. Lutton, Jr., dated July 26, 2011, taken in the matter of Apple, Inc. v.

21 Samsung Electronics Co., Ltd., et al, Case No. 11-CV-01846 (N.D. Cal.).

22          18.      Attached hereto as Exhibit Q is a true and correct copy of a document titled
23 “PATENT CROSS LICENSE AGREEMENT,” dated October 1, 1991, that was produced by

24 Apple in In The Matter of Certain Electronic Digital Media Devices and Components Thereof,

25 Inv. No. 337-TA-796, and identified as APL-ITC796-0000010041-10079.

26          19.      Attached hereto as Exhibit R is a true and correct copy of a document titled
27 “AMENDMENT,” dated April 1, 1996, that was produced by Apple in In The Matter of Certain

28

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 1 Electronic Digital Media Devices and Components Thereof, Inv. No. 337-TA-796, and identified

 2 as APL-ITC796-0000010080–10083.

 3         20.     Attached hereto as Exhibit S is a true and correct copy of a document titled
 4 “PATENT CROSS LICENSE AGREEMENT,” dated August 5, 1997, that was produced by

 5 Apple in In The Matter of Certain Electronic Digital Media Devices and Components Thereof,

 6 Inv. No. 337-TA-796, and identified as APL-ITC796-0000010019-10040.

 7         21.     Attached hereto as Exhibit T is a true and correct copy of a document titled
 8 “PATENT LICENSE AGREEMENT,” dated June 12, 2011, that was produced by Apple in Apple

 9 Inc. v. Samsung Electronics Co., Ltd. et al., Case No. 11-CV-01846 (N.D. Cal.), and identified as

10 APLNDCX0000007220-07355.

11         22.     Attached hereto as Exhibit U is a true and correct copy of Apple’s First
12 Supplemental Objections and Responses to Samsung’s Interrogatories to Apple Relating to

13 Apple’s Motion for Preliminary Injunction (No. 4), dated April 9, 2012.

14         23.     Attached hereto as Exhibit V is a true and correct copy of a document titled
15 “PATENT CROSS LICENSE AGREEMENT,” dated October 25, 2002, that was produced by

16 Apple in In The Matter of Certain Electronic Digital Media Devices and Components Thereof,

17 Inv. No. 337-TA-796, and identified as APL-ITC796-0000010084–10114.

18         24.     Attached hereto as Exhibit W is a true and correct copy of a document titled
19 “PATENT CROSS LICENSE AGREEMENT,” dated October 25, 2002, that was produced by

20 Apple in Apple Inc. v. Samsung Electronics Co., Ltd. et al., Case No. 11-CV-01846 (N.D. Cal.),

21 and identified as APLNDC0001221082–21113.

22         25.     Attached hereto as Exhibit X is a true and correct copy of a webpage titled “Apple
23 – Siri – Frequently Asked Questions,” downloaded from

24 http://www.apple.com/iphone/features/siri-faq.html on April 20, 2012.

25         26.     Attached hereto as Exhibit Y is a true and correct copy of excerpts of a document
26 titled “iPhone Buyer Survey,” produced by Apple in this case and identified as APLNDC630-

27 0000149470–630-0000149605.

28

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 1          27.    Attached hereto as Exhibit Z is a true and correct copy of excerpts of document
 2 titled “Smartphone Market Survey,” produced by Apple in this case and identified as

 3 APLNDC630-0000149098–630-0000149191.

 4          28.    Attached hereto as Exhibit AA is a true and correct copy of excerpts of a document
 5 titled “N94 launch pad,” produced by Apple in this case and identified as APLNDC630-

 6 0000128707–630-0000128766.

 7          29.    Attached hereto as Exhibit BB is a true and correct copy of excerpts of a document
 8 titled “State of the Competition,” produced by Apple in this case and identified as APLNDC630-

 9 00000128950–APLNDC630-0000129006.

10          30.    Attached hereto as Exhibit CC is a true and correct copy of excerpts of a document
11 titled “Smartphone market share by model purchased in Q4 2011,” produced by Apple in this case

12 and identified as APLNDC630-0000128350–630-0000128354.

13          31.    Attached hereto as Exhibit DD is a true and correct copy of excerpts of a document
14 titled “Samsung’s Use of Apple Patents in Smartphones,” dated August 4, 2010, produced by

15 Apple in this case and identified as APLNDC00000388–00410.

16          32.    Attached hereto as Exhibit EE is a true and correct copy of an article titled “iPhone
17 Top Seller At AT&T, Spring, And Verizon,” dated April 10, 2012, downloaded from

18 http://www.informationweek.com/news/mobility/smart_phones/232800138?printer_friendly=this-

19 page on April 10, 2012.

20                 I declare under penalty of perjury under the laws of the State of California that the

21 foregoing is true and correct.

22                 Executed April 23, 2012, at Los Angeles, California.

23

24

25

26

27
                                                   Daniel C. Posner
28

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